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        IN THE UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        *

              v.                                 * Criminal No. RDM-21-257

 RONNIE LEE PRESSLEY                             *

                                         *   *   *   *   *

      DEFENDANT’S EMERGENCY MOTION TO MODIFY
              CONDITIONS OF RELEASE

       COMES NOW the defendant, Ronnie Presley, through counsel, Alfred

Guillaume III, Esq., who hereby moves this Court to modify conditions of release. In

support thereof, he states as follows:

       1.     Mr. Presley is currently incarcerated at the Northern Neck Regional Jail

              in Warsaw, Virginia.

       2.     On January 6, 2022, Mr. Pressley informed undersigned counsel that he

              received news that his sixteen-year-old nephew, Caleb Pressley,

              unexpectedly passed away.

       3.     Mr. Johnson requests permission to attend the funeral in Sumner

              County, Tennessee.

       4.     Assistant United States Attorney Michael Liebman objects to any

              modification of the defendant’s conditions of release.

       5.     Mr. Pressley has indicated through counsel that he gives his word that

              he will immediately return to custody if he is allowed to attend the

              funeral.
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         WHEREFORE, for the foregoing reasons, the defendant respectfully requests

 that the court convene an emergency hearing so that he and undersigned counsel

 can provide the court more details about the funeral and the defendant’s request to

 attend the funeral in Sumner County, Tennessee.

                                                   Respectfully submitted,

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                                                 ALFRED GUILLAUME III, #MD0085
                                             Law Offices of Alfred Guillaume III, LLC
                                                 6305 Ivy Ln. Suite 700
                                                 Greenbelt, MD 20770
                                                 Phone: (301-377-2158)
                                                 Fax: (301-812-4254)
                                                 Email: ag3law@gmail.com


                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 6, 2022, a copy of Defendant's Motion, was

electronically filed in this case to all parties of record.


                                                      ____________________________________
                                                   Alfred Guillaume III, #MD0085

                                                   Attorney for Ronnie Lee Presley
